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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

TYANIS LAWRENCE,                           )
                                           )
      Plaintiff,                           )
                                           )
v.                                         ) Civ. Act. No.: 2:17-cv-611-ECM
                                           )
CHRISTOPHER WEST,                          )
                                           )
      Defendant.                           )

                                     ORDER

      Upon consideration of the parties’ joint stipulation of dismissal (doc. 56), filed

on March 26, 2019, which comports with FED.R.CIV.P. 41(a)(1)(A)(ii), this action

has been dismissed with prejudice by operation of Rule 41, on the terms agreed to

and set out by the parties.

      The Clerk of Court is DIRECTED to close the case.

      DONE this 26th day of March, 2019.

                                       /s/ Emily C. Marks
                                 EMILY C. MARKS
                                 CHIEF UNITED STATES DISTRICT JUDGE
